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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE


 In re:                                                    Chapter 11

 WOODBRIDGE GROUP OF COMPANIES, LLC,                       Case No. 17-12560 (KJC)
 et al.

               Debtors.                                    (Jointly Administered)

                                                           Re: D.I. 2901 & 2903



                                     NOTICE OF APPEAL

           PLEASE TAKE NOTICE that Lise La Rochelle and other noteholders of the Woodbridge

Group of Companies, LLC represented by The Sarachek Law Firm (collectively, the “Appellants”)

hereby appeal to the United States District Court for the District of Delaware, pursuant to 28 U.S.C.

§ 158(a) and Rules 8002 and 8003 of the Federal Rules of Bankruptcy Procedure, from the Order

Confirming the First Amended Joint Chapter 11 Plan of Liquidation of Woodbridge Group of

Companies, LLC and Its Affiliated Debtors, dated October 26, 2018 (D.I. 2903) (the

“Confirmation Order”), and the Opinion on Confirmation (D.I. 2901) (the “Confirmation

Opinion”) in the above-captioned chapter 11 cases, including, without limitation, any and all

orders, judgments, decrees, decisions, rulings, and opinions that may subsequently be entered

regarding the Confirmation Order and/or Confirmation Opinion. A copy of the Confirmation

Order is attached hereto as Exhibit A, and a copy of the Confirmation Opinion is attached hereto

as Exhibit B.

           PLEASE FURTHER TAKE NOTICE that that the names of all parties to the

Confirmation Order and the names, addresses, and telephone numbers of their attorneys are as

follows:




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                          PARTY                                               ATTORNEYS

     1.        Lise La Rochelle, et al.1               THE ROSNER LAW GROUP LLC
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                                                       Jason A. Gibson (DE No. 6091)
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     2.      Woodbridge Group of                       YOUNG CONAWAY STARGATT
             Companies, LLC, et al.                    & TAYLOR, LLP
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                                                       Edmon L. Morton (No. 3856)
                                                       Michael S. Neiburg (No. 5275)
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                                                       -and-

                                                       KLEE, TUCHIN, BOGDANOFF & STERN LLP
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    A full list of the Appellants are identified on Exhibit C which is incorporated herein by reference.

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                                      Respectfully submitted,

 Dated: November 9, 2018              THE ROSNER LAW GROUP LLC
        Wilmington, Delaware
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